           Case 1:01-cv-12257-PBS Document 1065-2 Filed 09/21/04 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS




IN RE PHARMACEUTICAL INDUSTRY                            MDL No. 1456
AVERAGE WHOLESALE PRICE
LITIGATION                                               CIVIL ACTION: 01-CV-12257-PBS

                                                         Judge Patti B. Saris


THIS DOCUMENT RELATES TO:

State of Montana v. Abbott Labs., Inc., et al.,
D. Mont. Cause No. CV-02-09-H-DWM



  PLAINTIFF STATE OF MONTANA'S JOINDER IN CLASS PLAINTIFFS' MOTION
  FOR LEAVE TO FILE REPLY BRIEF IN SUPPORT OF PLAINTIFFS' MOTION TO
                     COMPEL B. BRAUN OF AMERICA

           Plaintiff State of Montana joins in the Class Plaintiffs’ Motion for Leave to File Reply

Brief in Support of Plaintiffs’ Motion to Compel B. Braun of America to Make Supplemental

30(b)(6) Designation and the Class Plaintiff’s Reply brief itself, both of which were filed with

the Court this day.


By /s/ Signature on file with the Court                         DATED:          September 21, 2004.
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           Case 1:01-cv-12257-PBS Document 1065-2 Filed 09/21/04 Page 2 of 3




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                                            -2-
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           Case 1:01-cv-12257-PBS Document 1065-2 Filed 09/21/04 Page 3 of 3




                                 CERTIFICATE OF SERVICE

             I hereby certify that I, Steve W. Berman, an attorney, caused a true and correct copy
     of the foregoing PLAINTIFF STATE OF MONTANA’S JOINDER IN CLASS
     PLAINTIFFS’ MOTION FOR LEAVE TO FILE REPLY BRIEF IN SUPPORT OF
     PLAINTIFFS’ MOTION TO COMPEL B. BRAUN OF AMERICA to be served on all
     counsel of record electronically on September 21, 2004, pursuant to Section D of Case
     Management Order No. 2.

                                              By         /s/ Steve W. Berman
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